         Case 2:04-cr-00301-MJP           Document 858         Filed 06/21/05      Page 1 of 3




01

02

03

04

05

06

07
                               UNITED STATES DISTRICT COURT
08                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
09
     UNITED STATES OF AMERICA,            )
10                                        )               Case Nos.: CR04-00301-MJP
           Plaintiff,                     )
11                                        )
           v.                             )               SUMMARY REPORT OF U.S.
12                                        )               MAGISTRATE JUDGE AS TO
     JENNIFER RENEE LOWMAN,               )               ALLEGED VIOLATIONS
13                                        )               OF SUPERVISED RELEASE
           Defendant.                     )
14   ____________________________________ )

15          An initial probation revocation hearing on supervised release violations in this case was

16   scheduled before the undersigned Magistrate Judge on June 21, 2005. The United States was

17   represented by Assistant United States Attorney John J. Lulejian, and the defendant by Mr. David

18   Roberson. The proceedings were recorded on cassette tape.

19          The defendant had been sentenced on or about February 11, 2005, by the Honorable

20   Marsha J. Pechman on charges of conspiracy to distribute less than 500 grams of cocaine. The

21   defendant was sentenced to eighty-eight days’ custody, and three years’ probation subject to the

22   conditions of supervised release.

23          In addition to the standard conditions of supervised release, which includes compliance

24   with all local, state, and federal laws, special conditions of supervised release were imposed.

25   These special conditions included participation in substance-abuse and mental-health

26   rehabilitation programs, financial disclosure, abstinence from alcohol, search, and ninety days of

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
     PAGE 1
           Case 2:04-cr-00301-MJP          Document 858        Filed 06/21/05      Page 2 of 3




01   electronic home monitoring.

02            In a Noncompliance Summary Report and Request for Warrant dated May 17, 2005, U.S.

03   Probation Officer Jerrod Akins asserted the following violation of the conditions of supervised

04   release by the defendant:

05            (1)    Using cocaine on or before April 26, 2005, in violation of standard condition

06   No. 7.

07            In a Supplemental Report filed by U.S. Probation Officer Jerrod Akins on June 13, 2005,

08   the Court was petitioned to incorporate with the Report filed on May 17, 2005, and in all future

09   proceedings, the following violations by defendant:

10            (2)    Consuming cocaine on May 28, 2005, in violation of standard condition No. 7;

11   and

12            (3)    Consuming cocaine on June 4, 2005, in violation of standard condition No. 7.

13            The defendant admitted to violations No. 2 and No. 3, and waived any evidentiary hearing

14   as to whether they occurred. The defendant denied alleged violation No. 1, and requested an

15   evidentiary hearing on the alleged violation.

16            I therefore recommend that the Court find the defendant violated her supervised release

17   as to violations No. 2 and No. 3, and that as to violations No. 2 and No. 3, the Court conduct

18   an evidentiary hearing limited to disposition.

19            In addition, an evidentiary hearing and disposition should be set before the Honorable

20   Marsha J. Pechman on alleged violation No. 1. Pending a final determination by the Court, the

21   defendant has been released, subject to supervision.

22            DATED this 21st day of June, 2005.



                                                            A
23

24
                                                            JAMES P. DONOHUE
25                                                          United States Magistrate Judge
26

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
     PAGE 2
           Case 2:04-cr-00301-MJP    Document 858    Filed 06/21/05   Page 3 of 3




01
     cc:     District Judge:         Honorable Marsha J. Pechman
02           AUSA:                   Mr. John J. Lulejian
03           Defendant’s attorney:   Mr. David Roberson
             Probation officer:      Mr. Jerrod Akins
04

05

06

07

08

09

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
     PAGE 3
